Case 3:19-cv-00083-MMH-MCR Document 44 Filed 10/10/19 Page 1 of 2 PagelD 329

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

JOHN FREEMAN,

Plaintiff,
Vv. Case No: 3:19-cev-83-J-34MCR
ORANGE PARK MEDICAL CENTER,
INC.,

Defendant.
/

SUMMARY JUDGMENT NOTICE

Motion(s) for summary judgment pursuant to Rule 56, Federal Rules of Civil
Procedure, have been filed in this case. Unless the Court notifies the parties otherwise,
there will not be a hearing on these motion(s); instead, the Court will decide the motion(s)
on the basis of the motion(s), responses, briefs or legal memoranda, and evidentiary
materials filed by the parties. Unless otherwise specifically ordered by the Court, any
response to these motion(s), as well as all supporting evidentiary materials (counter-
affidavits, depositions, exhibits, etc.) must be filed with the Clerk of this Court in
accordance with the Federal Rules of Civil Procedure.

The following explanatory admonitions are included here for the benefit of pro se
parties (i.e., parties not represented by an attorney) who oppose the summary judgment
motion(s). In addition to the above paragraph, you are also advised that if the Court
grants the motion(s) for summary judgment, such would be a final decision of the Court

in favor of the party filing the motion(s) (“the movant’). As a result of such final decision,
Case 3:19-cv-00083-MMH-MCR Document 44 Filed 10/10/19 Page 2 of 2 PagelD 330

there would be no trial or other proceedings in this case, and you would likely be
precluded from later litigating this matter or any related matters. Therefore, you are
hereby further advised: (1) failing to respond to these motion(s) will indicate that the
motion(s) are not opposed; (2) all material facts asserted by the movant in the motion(s)
will be considered to be admitted by you unless controverted by proper evidentiary
materials (counter-affidavits, depositions, exhibits, etc.) filed by you; and (3) you may not
rely solely on the allegations of the issue pleadings (e.g., complaint, answer, etc.) in

opposing these motion(s). See Griffith v. Wainwright, 772 F.2d 822,825 (11th Cir. 1985).

FOR THE COURT

Date: October 10, 2019

BY: RH, Deputy Clerk
